** SPECIAL ASSESSMENT — IMPROVEMENT DISTRICT ** (1) THE SPECIAL ASSESSMENT FOR WHICH THE PROVISION IS MADE IN 11 O.S. 39-101 [11-39-101] ET SEQ. (1981) (THE IMPROVEMENT DISTRICT ACT) IS NOT A TAX.  (2) AN ASSESSMENT AGAINST CHURCH PROPERTY OR PROPERTY USED FOR RELIGIOUS PURPOSES MADE UNDER AUTHORITY OF THE IMPROVEMENT DISTRICT ACT IS NOT AN UNCONSTITUTIONAL INFRINGEMENT OF THE TAX EXEMPTION PROVIDED BY OKLAHOMA CONSTITUTION ARTICLE X, SECTION 6
(3) A MUNICIPALITY MUST INCLUDE CHURCH PROPERTY AND PROPERTY USED FOR RELIGIOUS PURPOSES IN A SPECIAL ASSESSMENT MADE BY AUTHORITY OF THE IMPROVEMENT DISTRICT ACT WHEN SUCH PROPERTY IS BENEFITED BY THE IMPROVEMENT FINANCED BY THE ASSESSMENT. (TAX EXEMPT PROPERTY, PROPERTY TAX, LOCAL IMPROVEMENTS) CITE: ARTICLE X, SECTION 6, 11 O.S. 39-101 [11-39-101], 11 O.S. 38-104 [11-38-104] (JAMES B. FRANKS)